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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

T JASON NOYE,                                    :
individually and on behalf                       :
of all others similarly situated,                :           No. 1:15-cv-2382
        Plaintiffs                               :
                                                 :           (Judge Kane)
               v.                                :
                                                 :
JOHNSON & JOHNSON, et al.,                       :
    Defendants                                   :

                                             ORDER

       AND NOW, on this 11th day of May 2018, in accordance with the Memorandum entered

concurrently with this Order, IT IS ORDERED THAT Defendant Johnson & Johnson’s

renewed motion to compel arbitration, or in the alternative, stay all proceedings (Doc. No. 74), is

DENIED. IT IS FURTHER ORDERED THAT Defendant Johnson & Johnson is directed to

file an answer to Plaintiffs’ complaint (Doc. No. 1), within twenty-one (21) days of the date of

this Order.




                                                     s/ Yvette Kane
                                                     Yvette Kane, District Judge
                                                     United States District Court
                                                     Middle District of Pennsylvania
